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   7

   8
                             UNITED STATES DISTRICT COURT
   9
             CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  10

  11   TEIANNA RICHARDSON,                          CASE NO: 2:23-CV-9118-KK (AGRx)

  12                       Plaintiff,
                                                    STIPULATED CONFIDENTIALITY
  13         vs.                                    ORDER

  14   WAL-MART ASSOCIATES, INC., and
       DOES 1 to 100, inclusive,                    Complaint Filed: September 20, 2023
  15                                                Trial Date: Not set
                           Defendants.
  16

  17

  18                             PURPOSE AND LIMITATIONS
  19         Discovery in this action is likely to involve production of confidential,
  20   proprietary, or private information for which special protection from public disclosure
  21   and from use for any purpose other than prosecuting this litigation may be warranted.
  22   Accordingly, the parties hereby stipulate to and petition the Court to enter the
  23   following Stipulated Confidentiality Order. The parties acknowledge that this Order
  24   does not confer blanket protections on all disclosures or responses to discovery and
  25   that the protection it affords from public disclosure and use extends only to the limited
  26   information or items that are entitled to confidential treatment under the applicable
  27   legal principles. The parties further acknowledge, as set forth in Paragraph 23, below,
  28   that this Stipulated Confidentiality Order does not entitle them to file confidential
                                                  1
                                        CONFIDENTIALITY ORDER
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   1   information under seal; Civil Local Rule 79-5 sets forth the procedures that must be
   2   followed and the standards that will be applied when a party seeks permission from
   3   the court to file material under seal.
   4                              GOOD CAUSE STATEMENT
   5         This action is likely to involve the exchange of confidential, private and/or
   6   proprietary information for which special protection from public disclosure and from
   7   use for any purpose other than prosecution of this action is warranted. Such
   8   information may consist of, but is not limited to, the following: Plaintiffs’ confidential
   9   and private medical records, Walmart’s confidential and private personnel records
  10   related to current and/or former employees, confidential business or financial
  11   information, information regarding confidential business practices, commercial
  12   information (including information implicating privacy rights of third parties), and/or
  13   other information generally unavailable to the public or which may be privileged or
  14   otherwise protected from disclosures under state or federal statutes, court rules, case
  15   decisions or common law. Accordingly, to expedite the flow of information, to
  16   facilitate the prompt resolution of disputes over confidentiality of discovery materials,
  17   to adequately protect information the parties are entitled to keep confidential, to
  18   ensure that the parties are permitted reasonable necessary uses of such material in
  19   preparation for and in the conduct of trial, to address their handling at the end of
  20   litigation, and serve the ends of justice, a confidentiality order covering such
  21   information is justified in this matter. It is the intent of the parties that information
  22   will not be designated as confidential for tactical reasons and that nothing be so
  23   designated without a good faith belief that it has been maintained in a confidential,
  24   non-public manner, and there is good cause why it should not be part of the public
  25   record of this case.
  26   //
  27   //
  28   //

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                                        CONFIDENTIALITY ORDER
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   1         Accordingly, the Parties agree as follows:
   2         1.     This Order shall govern the disclosure of materials designated as
   3   Confidential Material in this litigation. Confidential Material, as used in this Order,
   4   shall refer to any document or item designated as Confidential or Highly Confidential
   5   – Attorneys’ Eyes Only, including but not limited to, documents or items produced
   6   during discovery, all copies thereof, and the information contained in such material.
   7   Nothing in this Order shall require any party to produce any specific documents or
   8   category of documents which a party deems inappropriate for production.
   9   Definitions of Confidential Material
  10         2.     Confidential Material, as used in this Order, consists of the following
  11   materials and categories of materials:
  12
                    a. Materials relating to any privileged, confidential, or
  13                nonpublic information, including, but not limited to, trade
                    secrets, research, design, development, financial, technical,
  14                marketing, planning, personal, or commercial information,
                    as such terms are used in the Federal Rules of Civil
  15                Procedure (Fed. R. Civ.) and any applicable case law
                    interpreting Fed. R. Civ. 26(c)(1)(G) contracts; non-public
  16                compilations of retail prices; proprietary information;
                    vendor agreements; personnel files; claim/litigation
  17                information; and nonpublic policies and procedures shall be
                    deemed Confidential.
  18
                    b. Materials containing corporate trade secrets, nonpublic
  19                research and development data, including, but not limited
                    to, cost data, pricing formulas, inventory management
  20                programs, and other sales or business information not
                    known to the public; information obtained from a non-party
  21                pursuant to a non-disclosure agreement; and customer-
                    related Protected Data shall be deemed Highly Confidential
  22                – Attorneys’ Eyes Only.

  23                c. Protected Data shall refer to any information that a party
                    believes in good faith to be subject to federal, state or
  24                foreign data protection laws or other privacy obligations.
                    Examples of such data protection laws include but are not
  25                limited to The Gramm-Leach-Bliley Act, 15 U.S.C. § 6801
                    et seq. (financial information); and, The Health Insurance
  26                Portability and Accountability Act and the regulations
                    thereunder, 45 CFR Part 160 and Subparts A and E of Part
  27                164 (medical information). Certain Protected Data may
                    compel alternative or additional protections beyond those
  28                afforded Highly Confidential – Attorneys’ Eyes Only
                    material, in which event the parties shall meet and confer in
                                                3
                                      CONFIDENTIALITY ORDER
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                    good faith, and, if unsuccessful, shall move the Court for
   1                appropriate relief.
   2         The parties shall not designate as confidential information that is already public
   3   knowledge.
   4         3.     The parties agree that such Confidential Material as described in
   5   paragraph 2 should be given the protection of an order of this Court to prevent injury
   6   through disclosure to persons other than those persons involved in the prosecution or
   7   defense of this litigation.
   8   Procedure for Designating Information as Confidential
   9         4.     To designate information as confidential, the producing party shall mark
  10   Confidential Material with the legend “CONFIDENTIAL” or “HIGHLY
  11   CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” Parties shall submit confidential
  12   discovery responses, such as answers to interrogatories or answers to requests for
  13   admissions, in a separate document stamped with the appropriate legend designating
  14   those responses as Confidential Material. The Receiving Party may make copies of
  15   Confidential Material and such copies shall become subject to the same protections
  16   as the Confidential Material from which those copies were made.
  17
                    a. Information on a disk or other electronic format (e.g., a
  18                native format production) may be designated confidential
  19
                    by marking the storage medium itself (or the native file’s
                    title) with the legend “CONFIDENTIAL” or “HIGHLY
  20                CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” The
  21                Receiving Party shall mark any hard-copy printouts and the
                    storage medium of any permissible copies of such
  22                electronic material with the corresponding legend contained
  23                on the original and such copies shall become subject to the
                    same protections, as the Confidential Material from which
  24                those copies were made.
  25
                    b. Information disclosed at any deposition of a party taken
  26                in this action may be designated by the party as confidential
  27                by indicating on the record at the deposition that the
                    information is confidential and subject to the provisions of
  28                this Order. Alternatively, the party may designate
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                                      CONFIDENTIALITY ORDER
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   1
                    information disclosed at the deposition as confidential by
                    notifying the court reporter and other parties in writing,
   2                within fifteen (15) business days of receipt of the transcript,
   3
                    of the specific pages and lines of the transcript which are
                    designated as confidential. The parties may agree to a
   4                reasonable extension of the 15-business-day period for
   5                designation. Designations of transcripts will apply to audio,
                    video, or other recordings of the testimony. During such 15-
   6                business-day period, the entire transcript shall receive
   7                confidential treatment. Upon such designation, the court
                    reporter and each party shall affix the “CONFIDENTIAL”
   8                or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
   9                ONLY” legend to the designated pages and segregate them
                    as appropriate.
  10

  11         5.     A producing party may change the confidentiality designation of
  12   materials it has produced, as follows: (1) The producing party must give the receiving
  13   parties notice of the change by identifying the documents or information at issue.
  14   Once notice is given, the receiving party must make good-faith efforts to ensure that
  15   the documents or information are accorded treatment under the new designation. (2)
  16   Within a reasonable period after giving notice, the producing party must reproduce
  17   the documents or information in a format that contains the new designation. (3) If
  18   such information has been disclosed to persons not qualified pursuant to paragraph(s)
  19   (12-13) below, the party who disclosed such information shall (a) take reasonable
  20   efforts to retrieve previously disclosed Confidential Material; (b) advise such persons
  21   that the material is Confidential; and (c) give the producing party written assurance
  22   that steps (a) and (b) have been completed.
  23   Data Security
  24         6.     The Parties agree to provide adequate security to protect data produced
  25   by the other party(ies) or by non-parties. This includes secure data storage systems,
  26   established security policies, and security training for employees, contractors and
  27   experts. Adequate security also includes such measures as data encryption in transit,
  28   data encryption at rest, data access controls, and physical security, whether
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                                       CONFIDENTIALITY ORDER
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   1   hosted/outsourced to a vendor or on premises. At a minimum, any receiving party
   2   subject to the terms of this Confidentiality Order, will provide reasonable measures
   3   to protect non-client data consistent with the American Bar Association Standing
   4   Committee on Ethics and Professional Responsibility, Formal Opinion 477R.
   5   Clawback Provisions
   6         7.     The production of privileged or work-product protected documents,
   7   electronically stored information (ESI) or information, whether inadvertent or
   8   otherwise, is not a waiver of the privilege or protection from discovery in this case or
   9   in any other federal or state proceeding.
  10         8.     This Order shall be interpreted to provide the maximum protection
  11   allowed by Federal Rule of Evidence (FRE) 502(d) and shall be enforceable and
  12   granted full faith and credit in all other state and federal proceedings by 28 U.S. Code
  13   § 1738. In the event of any subsequent conflict of law, the law that is most protective
  14   of privilege and work product shall apply.
  15         9.     Nothing contained herein is intended to or shall serve to limit a party’s
  16   right to conduct a review of documents, ESI or information (including metadata) for
  17   relevance, responsiveness and/or segregation of privileged and/or protected
  18   information before production.
  19         10.    If the receiving party has reason to believe that a produced document or
  20   other information may reasonably be subject to a claim of privilege, then the receiving
  21   party shall immediately sequester the document or information, cease using the
  22   document or information and cease using any work product containing the
  23   information, and shall inform the producing party of the beginning BATES number
  24   of the document or, if no BATES number is available, shall otherwise inform the
  25   producing party of the information.
  26         11.    A producing party must give written notice to any receiving party
  27   asserting a claim of privilege, work-product protection, or other ground for reclaiming
  28   documents or information (a “clawback request”). After a clawback request is

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   1   received, the receiving party shall immediately sequester the document (if not already
   2   sequestered) and shall not review or use that document, or any work product
   3   containing information taken from that document, for any purpose. The parties shall
   4   meet and confer regarding any clawback request.
   5   Who May Receive Confidential and Highly Confidential Information
   6         12.    Confidential Material. Any Confidential Material and the information
   7   contained therein shall be disclosed only to the Court, its staff, in-house counsel and
   8   outside counsel of record for each party, and also shall be disclosed on a need-to-
   9   know basis only to the parties, counsel’s staff personnel, employees of a party to
  10   whom disclosure is necessary in connection with the preparation for and trial of this
  11   action, and any witnesses in the case (including consulting and testifying experts) as
  12   may from time to time reasonably be necessary in prosecution or defense of this
  13   action.
  14         13.    Highly Confidential—Attorneys’ Eyes Only Material. Material and
  15   information designated as “Highly Confidential—Attorneys’ Eyes Only” shall only
  16   be disclosed to the Court, its staff, in-house and outside counsel of record for each
  17   party, the secretarial, clerical, and paralegal staff of each, and consulting and
  18   testifying experts retained by a party in this action.
  19         14.    Restriction on Disclosure to Direct Competitors. Notwithstanding the
  20   foregoing, Confidential Material shall not be disclosed to any current or former
  21   employees of, or current or former consultants, advisors, or agents of, a direct
  22   competitor of any party named in the litigation. If a Receiving Party is in doubt about
  23   whether a particular entity is a direct competitor of a party named in this lawsuit, then
  24   before disclosing any Confidential Material to a current or former employee,
  25   consultant, advisor, or agent of that entity, the Receiving Party’s counsel must confer
  26   with counsel for the Producing Party.
  27         15.    Persons Receiving Confidential Information Must Sign Exhibit A.
  28   Counsel for each party shall advise all persons to whom Confidential Material is

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   1   disclosed pursuant to this Order of the existence of this Order and shall provide all
   2   such persons (other than the Court and its staff) with a copy of this Order. Counsel
   3   shall also require such persons to execute the Affidavit attached as Exhibit A, prior to
   4   the disclosure of Confidential Material.
   5         16.    Duties in the Event of Unauthorized Disclosures. It shall be the
   6   obligation of counsel, upon learning of any unauthorized disclosure or threatened
   7   unauthorized disclosure of Confidential Information, or any other breach or
   8   threatened breach of the provisions of this Order, to promptly notify counsel for the
   9   Producing Party. The notification shall be supplemented with reasonable details of
  10   the circumstances of the disclosure in order to permit the producing party to
  11   understand and take appropriate steps. Each party and its counsel agree to take
  12   reasonable and good-faith efforts to contain or limit any breach promptly upon
  13   receiving notice of it, and to make reasonable and good-faith attempts to retrieve any
  14   unauthorized disclosure of documents or information. This provision does not limit
  15   the producing party’s entitlement to damages resulting from any breach of this Order.
  16   Authorized Uses of Confidential Material
  17         17.    Confidential Material shall only be used for the purpose of litigating the
  18   above-captioned lawsuit and may not be used in other lawsuits.
  19         18.    Persons having knowledge of Confidential Material and information due
  20   to their participation in the conduct of this litigation shall use such knowledge and
  21   information only as permitted herein, and shall not disclose such Confidential
  22   Material, their contents or any portion or summary thereof to any person(s) not
  23   involved in the conduct of this litigation.
  24         19.    If any person having access to the Confidential Material herein shall
  25   violate this Order, he/she may be subject to sanctions by the Court and may be liable
  26   to pay for the damages caused by his/her violation.
  27   Challenges to the Designation of Confidential Material
  28         20.    Any party or interested member of the public may move the Court to

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                                       CONFIDENTIALITY ORDER
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   1   modify the designation of any documents or information produced in this litigation
   2   (either to include additional protection with respect to confidentiality or to remove a
   3   confidential designation). Before making such a motion, the party or an interested
   4   member of the public shall first attempt to resolve such dispute with the producing
   5   party’s counsel. Pending resolution of any challenges to the designation of documents
   6   or information, the material at issue shall continue to be treated as Confidential
   7   Material until ordered otherwise by the Court. The burden shall be on the party
   8   seeking to modify the designation to show that the producing party’s designation is
   9   inappropriate.
  10   Withholding of Information
  11         21.     Non-relevant Attachments. The parties will not produce non-relevant
  12   attachments that are attached to relevant emails. When an attachment is withheld,
  13   either for privilege or non-responsiveness, the producing party shall produce a one-
  14   page TIFF image (or PDF if production format dictates) in place of the withheld
  15   attachment,      correspondingly     stating   “Attachment   Withheld-Privileged”   or
  16   “Attachment Withheld-Nonresponsive” and bearing a sequential BATES number
  17   within the family BATES range. If any attachment to an email contains responsive
  18   content, then the cover email shall be produced for context, regardless of the cover
  19   email’s responsiveness. The cover email may be redacted in part to remove sensitive
  20   information, as described below.
  21         22.     Redactions. The parties may redact (1) information that is privileged or
  22   protected from discovery as work product or by reason of any other applicable
  23   privilege or immunity; (2) information subject to non-disclosure obligations imposed
  24   by governmental authorities, law or regulation (e.g., protected personal information);
  25   and (3) sensitive, non-relevant information, including but not limited to personally
  26   identifiable information, trade secrets, or information regarding products, data, or
  27   people. Privilege redactions will state, over the redacted portion, “Redacted–
  28   Privileged,” and all other redactions will state, “Redacted–Nonresponsive.”

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   1   Redactions of emails will not redact the names of recipients or the subject line of the
   2   emails, unless the subject line is itself privileged or contains the sensitive information
   3   described above, in which case only so much of the subject line will be redacted as
   4   may be needed. The parties will produce redacted documents in TIFF format (or
   5   searchable PDF if production format dictates; or in native format for file types that do
   6   not convert well to TIFF/PDF, such as Excel files) with corresponding searchable
   7   OCR text and the associated metadata for the document, ensuring the redacted content
   8   is fully protected from disclosure.
   9   Confidential Material In Filings, Hearings, and Trial
  10         23.    Confidential Material in Filings. Without written permission from the
  11   Producing Party or court order secured after appropriate notice to all interested
  12   persons, a party may not file Confidential Material in the public record in this action
  13   (or in any other action, such as an appeal). A party that seeks to file under seal any
  14   Confidential Material must comply with Civil Local Rule 79-5.2.2 (filing procedure)
  15   and 79-5.3 (service procedure). Confidential Material may only be filed under seal in
  16   a manner prescribed by the Court for such filings.
  17         24.    Confidential Material in Hearings and Trial. The provisions of this
  18   Order shall not affect, and this Order does not limit, the admissibility of Confidential
  19   Material (or references to that material) as evidence at trial, or during a hearing or
  20   similar proceeding in this action. Prior to using Confidential Material or the
  21   information contained therein at any hearing that is open to the public, the party
  22   seeking to use the Confidential Material must give at least seven (7) days advance
  23   notice to the producing party of the intent to use the Confidential Material so that the
  24   producing party may seek an appropriate Court Order to protect the Confidential
  25   Material.
  26   Continuing Effect of this Order and Duty to Destroy
  27         25.    This Order shall continue to be binding throughout and after the
  28   conclusion of this litigation, including all appeals. Within thirty (30) days of

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                                        CONFIDENTIALITY ORDER
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   1   settlement or final adjudication, including the expiration or exhaustion of all rights to
   2   appeal or petitions for extraordinary writs, each party or non-party to whom any
   3   materials were produced shall, without further request or direction from the Producing
   4   Party, promptly destroy all documents, items or data received including, but not
   5   limited to, copies or summaries thereof, in the possession or control of any expert or
   6   employee. This requirement to destroy includes all documents, not only those
   7   documents designated as Confidential Material. The Receiving Party shall submit a
   8   written certification to the Producing Party by the 30-day deadline that (1) confirms
   9   the destruction/deletion of all Confidential Material, including any copies of
  10   Confidential Materials provided to persons required to execute Exhibit A (Affidavit),
  11   and (2) affirms the Receiving Party has not retained any copies, abstracts,
  12   compilations, summaries or any other format reproducing or capturing any of the
  13   Confidential Material. Notwithstanding this provision, outside counsel is entitled to
  14   retain an archival copy of filings, depositions, and deposition exhibits.
  15   Procedure if Confidential Material Is Required to be Produced
  16         26.    If any person receiving documents covered by this Order is served with
  17   a subpoena, order, interrogatory, or document or civil investigative demand
  18   (collectively, a “Demand”) issued in any other action, investigation, or proceeding,
  19   and such Demand seeks material that was produced or designated as Confidential
  20   Material by someone other than the Receiving Party, the Receiving Party shall give
  21   prompt written notice by hand or electronic transmission within five (5) business days
  22   of receipt of such Demand to the party or non-party who produced or designated the
  23   material as Confidential Material, and shall object to the production of such materials
  24   on the grounds of the existence of this Order. At the request of the party or non-party
  25   who produced or designated the material as Confidential Material, the Receiving
  26   Party shall refuse to comply with the Demand unless (a) ordered to do so by a court
  27   with jurisdiction over the Receiving Party; or (b) released in writing by the party or
  28   non-party who designated the material as Confidential Material. The burden of

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                                       CONFIDENTIALITY ORDER
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   1   opposing the enforcement of the Demand shall fall upon the party or non-party who
   2   produced or designated the material as Confidential Material. Compliance by the
   3   Receiving Party with any order of a court of competent jurisdiction, directing
   4   production of any Confidential Material, shall not constitute a violation of this Order.
   5   Application of this Order to Productions by Third Parties
   6         27.    This Order may be used by third parties producing documents in
   7   connection with this action. Third parties may designate information as Confidential
   8   or Highly Confidential – Attorneys’ Eyes Only.
   9         28.    If a third party produces (or intends to produce) documents and does not
  10   designate (or does not intend to designate) those documents as Confidential Material,
  11   then any party to this action may seek to designate that third party’s documents or
  12   categories of documents as Confidential Material. In that case, it will be the burden
  13   of the party seeking protected status to move for a court order designating the
  14   materials as Confidential Material after the parties confer.
  15         29.    In the event additional parties join or intervene in this litigation, the
  16   newly joined party(ies) shall not have access to Confidential Material until its/their
  17   counsel has executed and, at the request of any party, filed with the Court the
  18   agreement of such party(ies) and such counsel to be fully bound by this Order.
  19         30.    The parties agree that nothing in this Order shall be deemed to limit the
  20   extent to which counsel for the parties may advise or represent their respective clients,
  21   conduct discovery, prepare for trial, present proof at trial, including any document
  22   designated Confidential Material as set forth herein, or oppose the production or
  23   admissibility of any information or documents which have been requested.
  24         31.    This Order shall remain in full force and effect until such time as it is
  25   modified, amended, or rescinded by the Court.
  26   //
  27   //
  28   //

                                                12
                                       CONFIDENTIALITY ORDER
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   1                     EXHIBIT A TO CONFIDENTIALITY ORDER
   2   Tiffany S. Hansen (SBN 292850)
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       WAL-MART ASSOCIATES, INC.
   8

   9                        UNITED STATES DISTRICT COURT
  10        CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
  11   TEIANNA RICHARDSON,                         CASE NO: 2:23-CV-9118-KK (AGRx)
  12                      Plaintiff,
                                                   AFFIDAVIT OF COMPLIANCE
  13         vs.                                   WITH CONFIDENTIALITY
                                                   ORDER
  14   WAL-MART ASSOCIATES, INC., and
       DOES 1 to 100, inclusive,
  15                                               Complaint Filed: September 20, 2023
                          Defendants.              Trial Date: Not set
  16

  17

  18         1.     My       name       is    ___________________.          I     live     at
  19   __________________________. I am working on behalf (or at the direction and
  20   engagement) of __________________________.
  21         2. I am aware that a Confidentiality Order has been entered in the above-
  22   captioned lawsuit. A copy of this Confidentiality Order has been given to me, and I
  23   have read and understand the provisions of same.
  24         3. I acknowledge that documents and information designated as confidential
  25   and/or highly confidential pursuant to such Confidentiality Order (“Confidential
  26   Materials”) are being disclosed to me only upon the conditions that I agree (a) to be
  27   subject to the jurisdiction of this Court, and (b) to comply with that Order. I hereby
  28   agree to abide by such Order, subject to all penalties prescribed therein, including

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                                       CONFIDENTIALITY ORDER
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   1   contempt of Court, for disobedience of said Order. I promise that the documents and
   2   information given confidential treatment under the Confidentiality Order entered in
   3   this case will be used by me only to assist counsel for the parties in preparing for
   4   litigation of the above-captioned matter. I understand that any use of such
   5   Confidential Material in any manner contrary to the provisions of the Confidentiality
   6   Order may subject me to the sanctions of this Court for contempt and to liability for
   7   any damages caused by my breach of the Confidentiality Order.
   8           4. I shall not disclose nor permit to be reviewed or copied said Confidential
   9   Materials, or any information derived from, by any person other than the parties and
  10   counsel for the parties or members of their staff.
  11           5. Within 30 days after the above-captioned lawsuit ends in a final non-
  12   appealable order, I agree to destroy all Confidential Materials in my possession.
  13

  14   DATED: _________________, 20___                          _______________________________
                                                                Signature
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  16                                                            _______________________________
                                                                Printed Name
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  19   Page 2
       Exhibit A, Affidavit of Compliance with Confidentiality Order
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                                              CONFIDENTIALITY ORDER
